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                                      ORDERED.

        Dated: October 11, 2017




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re                                           )
                                                )
William C. King, Jr.                            )      Case No. 6:16-bk-04406-RAC
Tammee King                                     )      Chapter 7
          Debtor                                )
                                                )

                   ORDER ALLOWING ADMINISTRATIVE EXPENSES

       This case came on for consideration on the Trustee’s Final Report (Doc. 63) and
Application(s) for Compensation (Doc. 62 and Doc. No. 61). The United States Trustee has
reviewed the final report. All creditors and parties in interest have been given notice and the
opportunity for a hearing of all pending applications for compensation and all pending
administrative claims. All objections, if any, are resolved. It is therefore,

         ORDERED:

         1. The following expenses of administration which have not been paid are allowed, and
            the trustee is directed to pay these expenses to the person(s) so indicated.

             Application or Reason                                      Fees         Expenses

             Arvind Mahendru, Trustee                              $1,636.19           $305.94

             Steve M. Vanderwilt, CPA, Trustee Accountant            $629.00            $14.10
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            Richard M Dauval, Trustee Attorney                       $2,107.00            $11.91

               TOTAL COSTS OF ADMINISTRATION ORDERED PAID:                             $4,704.14

       2. The following expenses of administration which have been previously paid without
          entry by the Court of a specific order authorizing payment of them are allowed as
          indicated:

            Application or Reason                                         Fees          Expenses




               TOTAL ADMINISTRATIVE COSTS PREVIOUSLY PAID:


       3. The Trustee has reported to the Court that no remaining assets are susceptible of
          liquidation and that any remaining assets are burdensome and should be abandoned.
          That abandonment is hereby authorized.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within 3 days of entry of the order.
